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                15                               UNITED STATES DISTRICT COURT
                16                              CENTRAL DISTRICT OF CALIFORNIA
                17
                18       FCA US LLC,                                              Case No.:
                19                              Plaintiff,
                20                        vs.                           COMPLAINT
                21       The International Union, United
                         Automobile, Aerospace and Agricultural
                22       Implement Workers of America (UAW)
                         and UAW Local 230,
                23
                                                Defendants.
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                    1             TO THE CLERK OF THE UNITED STATES DISTRICT COURT
                    2    FOR THE CENTRAL DISTRICT OF CALIFORNIA AND TO
                    3    DEFENDANTS AND THEIR COUNSEL OF RECORD:
                    4             Plaintiff FCA US LLC (“Stellantis” or “Plaintiff”), by its counsel, Morgan,
                    5    Lewis & Bockius, LLP, brings this Complaint to prevent and/or remedy a breach of
                    6    contract by Defendants International Union, United Automobile, Aerospace and
                    7    Agricultural Implement Workers of America (“UAW”) and UAW Local 230
                    8    (“Defendants”) by means of impermissible mid-contract strikes. During the 2023
                    9    collective bargaining negotiations, Stellantis and the UAW agreed to new language
                 10      reflecting planned future investments in U.S. operations. This language, which is
                 11      set forth in Letter 311 of the collective bargaining agreement (“CBA”) states, in
                 12      relevant part, that Stellantis plans to make future investments in numerous plants
                 13      throughout the life of the 2023 CBA, which expires in 2028, including investments
                 14      in the idled plant in Belvidere, Illinois starting in 2024 and in the Detroit Assembly
                 15      Complex in 2026.
                 16               Letter 311 also explicitly states that the planned future investments set forth
                 17      in the letter “are subject to approval by the Stellantis product Allocation Committee
                 18      and contingent upon plant performance, changes in market conditions, and
                 19      consumer demand continuing to generate sustainable and profitable volumes. . . .”
                 20      In other words, the planned future investments in the letter are conditional, require
                 21      Company approval, and are subject to change based on these business factor
                 22      contingencies.
                 23               Ignoring this negotiated-for and mutually agreed-upon language in Letter
                 24      311, the UAW and its agents, including President Shawn Fain, have embarked on a
                 25      sustained, multi-month campaign against the Company to force the planned
                 26      investments without Company approval and regardless of business factors. Fain
                 27      baselessly alleged Stellantis engaged in “serious violations” of the CBA and
                 28      recommended to the UAW membership that they authorize a strike. The UAW and
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                    1    its agents also have filed sham grievances designed to justify mid-contract strikes
                    2    against Stellantis that otherwise would violate the CBA’s no strike clause. Based
                    3    on Defendants’ misconduct and ongoing strike threats, Stellantis respectfully and
                    4    urgently seeks the Court’s intervention to declare that Defendants cannot ignore the
                    5    plain language in Letter 311, Defendants’ sham grievances do not authorize
                    6    Defendants to engage in mid-contract strikes, and Defendants have acted in bad
                    7    faith and thus violated the implied covenant of good faith and fair dealing
                    8    incorporated into the CBA under Section 301 of the Labor Management Relations
                    9    Act. And to the extent that Defendants carry out any mid-contract strikes that
                 10      violate these commitments, the Court should award Stellantis monetary damages
                 11      that result from Defendants’ breach.
                 12               I.      SUMMARY OF ACTION
                 13             1.        This action is brought pursuant to the Labor Management Relations
                 14      Act (“LMRA”), Section 301, 29 U.S.C. § 185, against the International Union,
                 15      United Automobile, Aerospace and Agricultural Implement Workers of America
                 16      (“UAW”) and UAW Local 230 (“Defendants”). By this action, Plaintiff: (i) seeks a
                 17      declaration that the UAW may not strike based on bad faith, sham grievances
                 18      demanding investments set forth in Letter 311 of the CBA be implemented
                 19      immediately because such investments are expressly subject to approval by
                 20      Stellantis and contingent upon factors including plant performance, changes in
                 21      market conditions, and consumer demand; and (ii) seeks monetary damages from
                 22      Defendants for the substantial economic harm from any impermissible work
                 23      stoppages that occur in violation of Defendants’ contractual and legal
                 24      commitments.
                 25             2.        Plaintiff and Defendants are parties to a 2023 National Production,
                 26      Maintenance, & Parts Agreement entered into in 2023 and expiring in 2028
                 27      (“CBA”).
                 28             3.        The CBA includes Letter 311, which summarizes Stellantis’ “planned
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                    1    future investments” in numerous plants, including the Belvidere Assembly Plant
                    2    and Detroit Assembly Complex. Attached hereto as Exhibit A, and incorporated
                    3    herein by this reference, is Letter 311. But Letter 311 also provides that these
                    4    planned future investments are “subject to approval by the Stellantis product
                    5    Allocation Committee and contingent upon plant performance, changes in market
                    6    conditions, and consumer demand continuing to generate sustainable and profitable
                    7    volumes for all of the U.S. Manufacturing facilities.” Ex. A.
                    8           4.        Defendants, and in particular, UAW President Shawn Fain, seek to
                    9    unilaterally invalidate Letter 311’s business factor contingencies. They ignore
                 10      Letter 311’s plain language—language that the UAW negotiated and agreed to—
                 11      and insist that the Company immediately move forward with all the planned
                 12      investments.
                 13             5.        Defendants have acted in bad faith by going on a publicity campaign,
                 14      filing sham grievances ignoring Letter 311’s conditions, and now calling a vote to
                 15      authorize a strike based on these bad faith grievances.
                 16             6.        Defendants’ actions and demands are clearly contrary to the parties’
                 17      CBA. The Court should issue a declaratory judgment that Defendants cannot ignore
                 18      the plain language in Letter 311, and that Defendants’ sham grievances do not
                 19      authorize Defendants to engage in mid-contract strikes. And Defendants’ attempts
                 20      to undermine and frustrate Letter 311’s negotiated and agreed-upon conditional
                 21      language also constitute a breach of the implied covenant of good faith and fair
                 22      dealing under the CBA.
                 23               II.     THE PARTIES
                 24             7.        Plaintiff is a limited liability company headquartered in Auburn Hills,
                 25      Michigan and incorporated in the State of Delaware. Plaintiff is engaged in the
                 26      manufacture and sale of automotive products in interstate commerce and is an
                 27      employer in an industry affecting commerce, within the meaning of § 301 of the
                 28      LMRA, and the definitions contained in §§ 2(2) and 501(1) and (3) of the LMRA,
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                    1    29 U.S.C. § 152(2) and 29 U.S.C. § 142(1), (3).
                    2           8.        Defendant UAW is a labor organization representing employees in an
                    3    industry affecting commerce within the meaning of 29 U.S.C. §§ 152(5), 185, and
                    4    is the bargaining representative for Plaintiff’s employees.
                    5           9.        Defendant UAW Local 230 is a labor organization representing
                    6    employees in an industry affecting commerce within the meaning of 29 U.S.C. §§
                    7    152(5), 185. The UAW and Local 230 are the duly certified, exclusive bargaining
                    8    representative for Plaintiff’s employees at the Los Angeles Parts Distribution
                    9    Center (“PDC”) and, as such, are both labor organizations representing employees
                 10      in an industry affecting commerce within the meaning of Section 301 of the
                 11      LMRA, 29 U.S.C. § 185.
                 12                III. JURISDICTION AND VENUE
                 13             10.       This is an action between an employer and labor organizations
                 14      representing employees in an industry affecting commerce within the meaning of
                 15      Section 301 of the LMRA, 29 U.S.C. § 185, therefore this Court has subject matter
                 16      jurisdiction pursuant to 28 U.S.C. § 1331.
                 17             11.       Venue is proper within this judicial district pursuant to 28 U.S.C. §
                 18      1391(b) because a substantial part of the events or omissions giving rise to the
                 19      claims occurred in this judicial district and because Defendants are labor
                 20      organizations under Section 301 of the LMRA, 29 U.S.C. § 185, and Local 230
                 21      maintains its principal offices and places of business in Ontario, California.
                 22               IV.     COLLECTIVE BARGAINING AGREEMENT AND LETTER
                 23                       311
                 24               12.     Letter 311, which is part of the CBA, sets forth Stellantis’ planned
                 25      future investments of approximately $18.9 billion in a number of plants throughout
                 26      the life of the 2023 CBA, which expires in 2028.
                 27               13.     Stellantis has finalized its plans for certain investments referenced in
                 28      Letter 311 and, to date, has announced $6.2 billion in investments in Kokomo and
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                    1    recently announced $400 million in Michigan investments.
                    2             14.     Among other items, Letter 311 lists the following planned future
                    3    investments in the Belvidere Assembly Plant: (1) launch a consolidated Mopar
                    4    Mega Hub in 2024; (2) launch stamping operations in 2025; and (3) allocate a new
                    5    midsize truck in 2027.
                    6             15.     Letter 311 also indicates a planned future investment for the next
                    7    generation Durango (D6U) in 2026 for the Detroit Assembly Complex.
                    8             16.     Letter 311 also expressly provides that, due to the “unpredictability” of
                    9    “highly volatile” vehicle markets, all of these planned future investments are
                 10      subject to committee approval, and contingent upon plant performance, market
                 11      conditions and consumer demands. Specifically, Letter 311 provides:
                 12               The parties understand and agree that the global and North American
                 13               economies and vehicle markets remain highly volatile and, as such,
                 14               continue to be unpredictable. Further unpredictability with volumes
                 15               and mix is anticipated with the introduction of E,V. product offerings
                 16               within our vehicle lineup. Accordingly, it is understood that the
                 17               product investment and employment level numbers set forth [in Letter
                 18               311] are subject to approval by the Stellantis product Allocation
                 19               Committee and contingent upon plant performance, changes in market
                 20               conditions, and consumer demand continuing to generate sustainable
                 21               and profitable volumes for all of the U.S. manufacturing facilities
                 22               described [in Letter 311].
                 23               17.     Letter 311 further explains that “Stellantis is committed to establish
                 24      long-term stability and job security for the U.S. workforce” and that, in turn, the
                 25      Union “ understands that product allocation is achieved through strong and
                 26      sustained plant performance and is committed to enable Company success and
                 27      thereby help create stability and security for employees.” Ex. A.
                 28               18.     Section 5 of the CBA states that “[t]he Union will not cause or permit
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                    1    its members to cause nor will any member of the Union take part in any strike or
                    2    stoppage of any of the Company’s operations or picket any of the Company’s
                    3    plants or premises until all the grievance procedure as outlined in this Agreement
                    4    has been exhausted, and in no case over a matter on which the Appeal Board has
                    5    power, and authority to rule. . . .”
                    6             19.     Section 29 of the CBA exempts disputes regarding Letter 311 from the
                    7    Appeal Board’s (arbitration) jurisdiction and processes.
                    8             20.     Based on Section 5 and 29, absent a bona fide and good faith dispute
                    9    over Letter 311 compliance, Defendants cannot rely on Letter 311 as a basis to
                 10      engage in mid-contract strikes against the Company to force investments that
                 11      effectively void negotiated-for and mutually agreed-upon language in Letter 311.
                 12               V.      THE UAW PUBLICLY MISREPRESENTS LETTER 311’S
                 13                       TERMS
                 14               21.     The UAW has conducted a sustained campaign attempting to thwart
                 15      the provisions of Letter 311 and force Stellantis to implement the Letter’s planned
                 16      future investments irrespective of Company approval and business factors such as
                 17      market conditions or consumer demand.
                 18               22.     As far back as November 2023, the UAW published a message to its
                 19      members describing the planned future investments in the Belvidere Assembly
                 20      Plant as unconditional commitments by Stellantis, but without informing
                 21      membership that they were subject to approval by Stellantis and contingent upon
                 22      business factors such as market conditions and consumer demand. In August 2024,
                 23      the UAW launched a national publicity campaign misrepresenting that the planned
                 24      future investments in Letter 311 were absolute commitments and ignoring the
                 25      business factor contingencies in Letter 311.
                 26               23.     More recently, UAW President Shawn Fain has repeatedly
                 27      misrepresented Letter 311 as a “guarantee” of immediate investments in Belvidere.
                 28      By doing so, Fain has intentionally misled UAW members and the public by failing
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                    1    to acknowledge the plain language of Letter 311—language the UAW negotiated
                    2    and agreed to—providing that the planned future investments are subject to
                    3    approval by Stellantis and contingent on business factors including market
                    4    conditions and consumer demand. The following are examples of the UAW and
                    5    Fain’s misrepresentations:
                    6                       In August 2024, the UAW created a website “Stellantis: Keep the
                    7    Promise” dedicated to Letter 311 grievances.1 In a “Letter to the Membership”
                    8    published on the website Fain mischaracterized the Belvidere investment timeline
                    9    as “commitments” Stellantis allegedly failed to honor.
                 10                         On August 19, 2024, during a speech at the Democratic National
                 11      Convention, Fain claimed that Stellantis promised to reopen a plant and is trying to
                 12      back out of that promise without reference to Letter 311’s conditions.2 That same
                 13      day, the UAW issued a statement announcing its intention to file grievances over
                 14      Letter 311, again, without reference to the contractual market conditions
                 15      contingencies in Letter 311.3
                 16                         On August 20, 2024, Fain was quoted in a Bloomberg Law article
                 17      claiming Stellantis “promise[d]” to reopen Belvidere without referencing the
                 18      Letter’s conditions.4
                 19                         On September 15, 2024, Fain wrote an Op-Ed in the Detroit News,
                 20      referring to the Belvidere allocations as “commitments” and “promises” without
                 21      referencing Letter 311’s contractual conditions.5
                 22
                         1
                 23          See https://stellantis.uaw.org/?source=2023button
                         2
                             See https://www.youtube.com/watch?v=pZ9WinNzBK8 (5:45 – 7:00).
                 24      3
                             See https://uaw.org/uaw-stellantis-locals-prepare-grievances-over-companys-failure-to-keep-product-commitments-
                 25              paving-way-for-strike-action-if-necessary/
                         4
                             See BLOOMBERG, UAW Threatens Stellantis Strike Ahead of Boss’s Attach, available at
                 26              https://www.bloomberg.com/news/articles/2024-08-20/uaw-president-fain-calls-out-stellantis-at-democratic-
                                 convention
                 27      5
                             See DETROIT NEWS, Stellantis must keep its promises to autoworkers, available at
                 28              https://www.detroitnews.com/story/opinion/columnists/labor-voices/2024/09/15/labor-voices-stellantis-must-
                                 keep-its-promises-to-
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                    1                    On September 17, 2024, Fain hosted a Facebook Live speech and
                    2    misrepresented Letter 311, misinformed his members and the public, and attacked
                    3    the Company and its leadership stating, among other things, “Those investment
                    4    commitments weren’t just words on paper.” … “In our 2023 negotiations, we
                    5    secured $19 billion in product & investment commitments from Stellantis” … “So
                    6    we’re damn sure not going to turn around and just let Stellantis violate our
                    7    agreement and destroy thousands of good blue-collar jobs in America.” … “Right
                    8    now, the company is planning to violate this agreement.” … “But pushing the
                    9    product outside the date of the agreement means we have no agreement.” … “We
                 10      will also be holding strike authorization votes at one or more Stellantis locals.”
                 11                      On September 27, 2024, Fain wrote a letter to the UAW Stellantis
                 12      Council falsely alleging Stellantis engaged in “serious violations of our contract
                 13      and patterns of illegal behavior” and that Fain had recommended “to the
                 14      membership that every UAW worker at Stellantis prepare for a fight, and we all get
                 15      ready to vote YES to authorize a strike at Stellantis.”
                 16               VI.     THE UAW FILES MULTIPLE SHAM GRIEVANCES AGAINST
                 17                       STELLANTIS
                 18               24.     The UAW and its local chapters recently filed a bevy of sham
                 19      grievances regarding Letter 311’s planned investments. All of the grievances
                 20      disregard—and indeed, do not even mention—the express business factor
                 21      contingencies that must be taken into account for the planned investments under the
                 22      Letter.
                 23               25.     Upon information and belief, these grievances were coordinated by the
                 24      UAW to each of the local unions, including Local 230.
                 25               26.     Numerous UAW local unions filed virtually identical grievances
                 26      claiming that Stellantis is violating Letter 311 and demanding that the Belvidere
                 27
                              autoworkers/75203125007/#:~:text=Last%20month%2C%20the%20UAW%20launched,to%20strike%20over
                 28           %20those%20commitments
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                    1    investments proceed without approval by the Company and on a timeline that does
                    2    not take into account the business factor contingencies.
                    3               27.     The UAW and Local 230 filed a grievance for the Los Angeles PDC
                    4    on August 22, 2024 alleging that the Company’s alleged “failure to plan for, fund,
                    5    and launch these programs” including the planned investments at Belvidere
                    6    constitute a violation of [Letter 311] and demanding that the “Company rescind its
                    7    decision to push back the above-referenced launches and immediately plan for and
                    8    fund the Belvidere investments in order to comply with the agreed upon timeline
                    9    for launching” the planned investments in Belvidere, without referencing the
                 10      business factor contingencies.
                 11                 28.     Local 230 and several other UAW local unions also filed virtually
                 12      identical grievances claiming that Stellantis is violating the CBA by not yet
                 13      implementing planned future investment for the next generation Durango (D6U) in
                 14      2026 for the Detroit Assembly Complex—again, without mention of the
                 15      contractually-mandated business factor contingencies.
                 16                 VII. THE UAW CALLS FOR A STRIKE BASED ON THE SHAM
                 17                         GRIEVANCES
                 18                 29.     Just as Fain threatened during his Facebook live speech, the UAW is
                 19      now urging its members to strike. In a recent letter, Fain and the UAW
                 20      “unanimously recommend[ed] to the membership that every UAW worker at
                 21      Stellantis prepare for a fight, and we all get ready to vote yes to authorize a strike.”6
                 22                 30.     As mentioned, Section 5 of the CBA prohibits mid-contract strikes
                 23      except in exceptional circumstances and not until all grievance procedures have
                 24      been exhausted. The UAW’s sham grievances are in bad faith and a pretext for an
                 25      impermissible strike.
                 26
                 27      6
                             See DETROIT FREE PRESS, September 27, 2024, Fain letter urges UAW Stellantis members to be ready to OK strike,
                                 available at https://www.freep.com/story/money/cars/chrysler/2024/09/27/uaws-fain-letter-stellantis-
                 28              strike/75420597007/
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                    1             31.     In response to the UAW’s bad faith publicity campaign and threats, on
                    2    or about September 23, 2024 Stellantis informed Fain and the UAW that—under
                    3    the plain language of Letter 311’s conditions—there was no legitimate dispute over
                    4    Letter 311 compliance. Letter 311’s planned investments and employment levels
                    5    are “subject to” committee approval and “contingent upon” factors such as plant
                    6    performance, market conditions, and consumer demand. Letter 311’s conditions, as
                    7    agreed upon by the UAW and Stellantis, reflect the reality that if the demand for
                    8    Stellantis’ vehicles changes, then Stellantis’ planned investments could be subject
                    9    to change. This language is plainly written in Letter 311 and cannot be a matter of
                 10      legitimate dispute.
                 11               32.     But Defendants have nonetheless marched forward with their scheme
                 12      to pressure Stellantis to set aside Letter 311’s business factor contingencies. Upon
                 13      information and belief, the UAW has directed Local 230 to call a strike
                 14      authorization vote, and Local 230 is holding a strike authorization vote today,
                 15      October 3, 2024.
                 16               33.     By making these material misrepresentations to the public and UAW
                 17      members that ignore the language of Letter 311, by filing sham grievances that
                 18      ignore the language of Letter 311, and by now calling a vote to strike over a
                 19      purported dispute that ignores the language of Letter 311, Defendants have acted in
                 20      bad faith and with an intent to breach the CBA. Their scheme is intended to deprive
                 21      Stellantis of its rights pursuant to Section 311’s business factor contingencies and
                 22      frustrate the purpose of the parties’ CBA. Substantial investments and business
                 23      decisions are at issue. The UAW cannot force Stellantis to surrender its rights under
                 24      the parties’ agreement by filing bad faith, sham grievances to setup impermissible
                 25      mid-contract strikes.
                 26               34.     Thus, Stellantis brings this action for a declaratory judgment that
                 27      Defendants cannot ignore the plain language of Letter 311 and that the pending
                 28      grievances filed by Defendants are not a legitimate basis to strike under Section 5
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                    1    of the CBA. Stellantis also seeks relief based on Defendants’ violations of the
                    2    implied covenant of good faith and fair dealing under the CBA.
                    3                                             COUNT ONE:
                    4                DECLARATORY JUDGMENT THAT DEFENDANTS CANNOT
                    5     IGNORE THE LANGUAGE OF LETTER 311 AND DEFENDANTS’ SHAM
                    6         GRIEVANCES DO NOT AUTHORIZE A MID-CONTRACT STRIKE
                    7             35.     Plaintiff repeats, realleges, and incorporates by reference paragraphs 1-
                    8    33 above.
                    9             36.     Letter 311 expressly makes its planned investments and employment
                 10      levels “subject to” committee approval and “contingent upon” plant performance,
                 11      market conditions, and consumer demand.
                 12               37.     Nonetheless, Defendants have demanded that planned investments in
                 13      Belvidere, Illinois and the Detroit Assembly Complex are not subject to these
                 14      conditions and are instead fixed commitments that must be acted upon irrespective
                 15      of the conditions outlined in Letter 311. Defendants have so argued in public
                 16      pronouncements, in their CBA grievances, and now in threatening to strike.
                 17               38.     Defendants request the Court resolve the controversy by issuing a
                 18      declaratory judgment that Defendants cannot ignore the plain language in Letter
                 19      311 and that the pending grievances do not authorize Defendants to engage in a
                 20      mid-contract strike.
                 21                                            COUNT TWO:
                 22                                BREACH OF IMPLIED COVENANT OF
                 23                                  GOOD FAITH AND FAIR DEALING
                 24               39.     Plaintiff repeats, realleges, and incorporates by reference paragraphs 1-
                 25      37 above.
                 26               40.     The parties entered into a valid contract – the 2023 CBA. Plaintiff has
                 27      performed under the CBA.
                 28               41.     The parties’ CBA contains an implied covenant of good faith and fair
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                    1    dealing under Section 301 of the Labor Management Relations Act.
                    2             42.     Defendants have, in bad faith, prevented Plaintiff from exercising its
                    3    rights and receiving the benefits provided to Stellantis under the CBA. The CBA’s
                    4    Letter 311 contains conditional language providing that planned investments are
                    5    “subject to approval by the Stellantis product Allocation Committee and contingent
                    6    upon plant performance, changes in market conditions, and consumer demand
                    7    continuing to generate sustainable and profitable volumes for all of the U.S.
                    8    manufacturing facilities described.”
                    9             43.     As explained above, the UAW acted in bad faith by disregarding this
                 10      language, filing sham grievances, and calling a strike authorization vote to pressure
                 11      Stellantis to proceed with planned investments irrespective of Letter 311’s
                 12      conditions.
                 13               44.     Defendants’ publicity campaign, bad faith grievances, and intent to
                 14      strike are aimed to frustrate the purpose of Letter 311 and undermine its conditional
                 15      language.
                 16             WHEREFORE, Plaintiff prays:
                 17               1.      That the Court declare the pending grievances expressly conflict with
                 18      Letter 311 and that Defendants cannot ignore the plain language of Letter 311;
                 19               2.      That the Court declare that any resulting strike by the Defendants
                 20      based on the pending grievances is a breach of Section 5;
                 21               3.      That the Court find that the Defendants have violated the implied
                 22      covenant of good faith and fair dealing based on their actions;
                 23               4.      That the Court award Plaintiff damages for the substantial economic
                 24      harm that would be caused by any work stoppage engaged in by Defendants that
                 25      breaches Section 5 of the CBA;
                 26               5.      That the Court award Plaintiff its reasonable attorneys’ fees and costs
                 27      incurred in bringing this action;
                 28               6.      That the Court grant Plaintiff such other and further relief as this Court
MORGAN, LEWIS &
 BOCKIUS LLP
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 ATTORNEYS AT LAW
   LOS ANGELES          DB2/ 49178989.2                            COMPLAINT
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                    1    deems just and proper.
                    2                                              Respectfully submitted,
                         Dated: October 3, 2024                   MORGAN, LEWIS & BOCKIUS LLP
                    3
                    4                                             By: /s/ Douglas R. Hart
                                                                     Douglas R. Hart
                    5
                                                                      Attorneys for Plaintiff
                    6                                                 FCA US LLC
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 BOCKIUS LLP
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